
USCA1 Opinion

	





        December 11, 1995       [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

           
                        
                                 ____________________



        No. 95-1676 


                               RICHARD EDWARD STEEVES,

                                Plaintiff, Appellant,

                                          v.

                MAINE COMMISSIONER, DEPARTMENT OF CORRECTIONS, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                          Boudin and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Richard Edward Steeves on brief pro se.
            ______________________
            Andrew  Ketterer,  Attorney  General, and  Diane  Sleek, Assistant
            ________________                           ____________
        Attorney General, on brief for appellees.


                                 ____________________


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                 Per Curiam.  Appellant Richard Steeves, a Maine prisoner
                 __________

            now incarcerated  in Minnesota, appeals the  grant of summary

            judgment to  defendant officials  of the Maine  Department of

            Corrections  on  Steeves' claim  that  defendants denied  him

            constitutionally adequate access to Maine courts.  We affirm.

                 According to  the record, defendants offered  to provide

            Steeves with  an attorney through Pine  Tree Legal Assistance

            to assist him in  his post conviction proceedings.   In order

            to take  advantage of  this offer,  Steeves  was directed  to

            write  to  the  Chief Advocate  of  the  Maine Department  of

            Corrections.   Instead  of following this  procedure, Steeves

            contacted Pine  Tree Legal Assistance directly and apparently

            sought  legal   assistance  not   for  his   post  conviction

            proceeding  but for obtaining a  transfer back to  Maine.  He

            was  informed by Pine Tree  Legal Assistance that  it did not

            generally handle prison transfer cases.  

                 The fact that Steeves' failed  in his attempt to  obtain

            legal assistance  directly from  Pine  Tree Legal  Assistance

            does  not  indicate  that  such assistance  would  have  been

            refused if  Steeves had applied through  the proper channels.

            Steeves  has therefore  failed to  produce any  evidence that

            defendants' offer  to provide  him with legal  assistance was

            not genuine.  

                 Affirmed.  See 1st Cir. Loc. R. 27.1.
                 ________   ___





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